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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ---------------------------------------------------------------x
  DOREL ANDERSON                                                      CV

                                              Plaintiff,
                      -against-                                       COMPLAINT

  GREENPOINT GOLDMAN SM LLC, RXR 810                                  JURY TRIAL REQUESTED
  FULTON OWNER LLC, AND HUNGRY GHOST
  BK CORP

                                              Defendants.
  ---------------------------------------------------------------x

                                           COMPLAINT

        Plaintiff Dorel Anderson (hereafter referred to as "Plaintiff”), by counsel, Parker

Hanski LLC, as and for the Complaint in this action against Defendants Greenpoint

Goldman SM LLC, RXR 810 Fulton Owner LLC, and Hungry Ghost BK Corp (together

referred to as "Defendants"), hereby alleges as follows:

                                  NATURE OF THE CLAIMS

        1.          This lawsuit opposes pervasive, ongoing, and inexcusable disability

discrimination by the Defendants. In this action, Plaintiff seeks declaratory, injunctive,

and equitable relief, as well as monetary damages, nominal damages, and attorney’s fees,

costs, and expenses to redress Defendants’ unlawful disability discrimination against

Plaintiff, in violation of Title III of the Americans with Disabilities Act (“ADA”) 42

U.S.C. §§ 12181 et. seq. and its implementing regulations; the New York State Human

Rights Law (“NYSHRL”), Article 15 of the New York State Executive Law ("Executive

Law''); the New York State Civil Rights Law, § 40 et. seq.; and the New York City

Human Rights Law (“NYCHRL”), Title 8 of the Administrative Code of the City of New

York (“Administrative Code”'). As explained more fully below, Defendants own, lease,

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lease to, operate, and control a place of public accommodation that violates the above-

mentioned laws. Plaintiff also alleges a claim for Negligence and seeks damages for

bodily injury proximately caused by the Defendants’ Negligence. Defendants are

vicariously liable for the acts and omissions of their employees and agents for the

conduct alleged herein.

        2.       These Defendants made a financial decision to ignore the explicit legal

requirements for making their place of public accommodation accessible to persons with

disabilities – all in the hopes that they would never be caught. In so doing, Defendants

made a calculated, but unlawful, decision that disabled customers are not worthy. The

day has come for Defendants to accept responsibility. This action seeks to right that

wrong via recompensing Plaintiff and making Defendants’ place of public

accommodation fully accessible so that Plaintiff can finally enjoy the full and equal

opportunity that Defendants provide to non-disabled customers.

                              JURISDICTION AND VENUE

        3.         This Court has jurisdiction over this matter pursuant to 42 U.S.C. §

12188, and 28 U.S.C. §§ 1331 and 1343 as this action involves federal questions

regarding the deprivation of Plaintiff's rights under the ADA. The Court has

supplemental jurisdiction over Plaintiff's related claims arising under the New York State

and City laws pursuant to 28 U.S.C. § 1367(a).

        4.       Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) because

Defendants’ acts of discrimination alleged herein occurred in this district and

Defendants’ place of public accommodation that is the subject of this action is located in

this district.



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                                         PARTIES

       5.      At all times relevant to this action, Plaintiff Dorel Anderson has been and

remains currently a resident of Brooklyn, New York. Specifically, Plaintiff resides in the

Fort Greene section of Brooklyn.

       6.      At all times relevant to this action, Plaintiff Dorel Anderson has been and

remains a wheelchair user. Plaintiff has medical conditions that inhibit walking and

restrict body motion range and movement.

       7.      Defendants Greenpoint Goldman SM LLC and RXR 810 Fulton Owner

LLC own the property located at 810 Fulton Street in Kings County, New York

(hereinafter referred to as “810 Fulton Street”).

       8.       At all relevant times, defendant Hungry Ghost BK Corp leases property

located at 810 Fulton Street from the defendants Greenpoint Goldman SM LLC and RXR

810 Fulton Owner LLC.

       9.      At all relevant times, defendant Hungry Ghost BK Corp has and continues

to operate a coffee shop establishment at 810 Fulton Street doing business as Hungry

Ghost (hereinafter referred to as the “Hungry Ghost” premises).

       10.     Each defendant is licensed to and does business in New York State.

       11.     Upon information and belief, Greenpoint Goldman SM LLC and RXR 810

Fulton Owner LLC and Hungry Ghost BK Corp have a written lease agreement.

       12.     Upon information and belief, Defendants Greenpoint Goldman SM LLC

and RXR 810 Fulton Owner LLC are related companies under common control.




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              ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

        13.     Each of the Defendants is a public accommodation as they own, lease,

lease to, control or operate a place of public accommodation, the Hungry Ghost premises

located at 810 Fulton Street, within the meaning of the ADA (42 U.S.C. § 12181 and 28

C.F.R. § 36.104), the NYSHRL (Executive Law § 292(9)) and the NYCHRL

(Administrative Code § 8-102(9)).

        14.     The Hungry Ghost premises is a place of public accommodation within

the meaning of the ADA (42 U.S.C. § 12181 and 28 C.F.R. § 36.104), the NYSHRL

(Executive Law § 292(9)) and the NYCHRL (Administrative Code (§ 8-102(9)) as it is a

facility operated by a private entity and its operations affect commerce.

        15.     Numerous architectural barriers exist at the Hungry Ghost premises that

prevent and/or restrict access to Plaintiff, a person with a disability, which include, but

are not limited to, architectural barriers at the paths of travel.

        16.     Upon information and belief, 810 Fulton Street was designed and

constructed for first possession after 2018.

        17.     Upon information and belief, at some time after 2019, alterations were

made to 810 Fulton Street, including areas adjacent and/or attached to 810 Fulton Street.

        18.     Upon information and belief, at some time after 2019, alterations were

made to the Hungry Ghost premises, and to areas of 810 Fulton Street related to the

Hungry Ghost premises.

        19.     The services, features, elements and spaces of the Hungry Ghost premises

are not readily accessible to, or usable by Plaintiff as required by the Americans with

Disabilities Act Accessibility Guidelines, 28 C.F.R. Part 36, Appendix A, and adopted by



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the United States Department of Justice in 1991 as the Standards for Accessible Design

(hereinafter referred to as the “1991 Standards” or the “1991 ADA”) or the revised final

regulations implementing Title III of the ADA adopted by the United States Department

of Justice in 2010 as the 2010 Standards for Accessible Design (hereinafter referred to as

the “2010 Standards” or the “2010 ADA”).

       20.     Because of Defendants’ failure to comply with the above-mentioned laws,

including but not limited to the 1991 Standards or the 2010 Standards and the

Administrative Code, Plaintiff was and has been unable to enjoy safe, equal, and

complete access to all of the areas of the Hungry Ghost premises that are open and

available to the public.

       21.     Defendants' place of public accommodation has not been designed,

constructed, or altered in compliance with the 2010 Standards, and/or the Building Code

of the City of New York (“BCCNY”).

       22.     Barriers to access that Plaintiff experienced, encountered and/or which

deter Plaintiff from patronizing the Hungry Ghost premises as well as architectural

barriers that exist include, but are not limited to, the following:

    I. The threshold for defendants’ entrance doors is more than one-half inch. See
       1991 Standards §§ 4.l.3(7), and 4.13.8; and 2010 Standards §§ 403.4, 303.

   II. Defendants fail to provide that no changes in level exist inside the required
       minimum maneuvering clearance at the ground space in front of the public
       entrance door. See 1991 Standards§§ 4.37, 4.13.6, 4.3.8, 4.5.2; and 2010
       Standards §§ 305.2, 302, 304.2, 404.2.4.4.

  III. Defendants fail to provide the minimum maneuvering clearance of level and clear
       space adjacent to the handle side of the non-automatic doors. See 1991 Standards
       §§ 4.1.3(7), 4.13.6; and 2010 Standards §§ 206.5.2, 404.2.4.1, 305.3, 404.3.

  IV. Defendants’ doors require more than five pounds of force to open. See 1991
      Standards § 4.1.3(7), 4.13.11; and 2010 Standards §§ 206.5.2, 404.2.9.

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  V. Defendants do not provide an accessible public entrance. See 28 C.F.R. §
     36.304(c); and 1991 Standards §§ 4.1.1(1); 4.1.3(8), 4.32, and 4.14; and 2010
     Standards §§ 206.1, 206.2, 206.3, 206.2.4, 206.4; and BCCNY §§ 1101.2, 1104.1,
     1103.1.

  VI. The primary entrance to defendants’ public accommodation is not accessible. See
      Administrative Code §§ 27-292.5(a) and 27-357(d).

 VII. Defendants fail to provide an accessible route to the primary entrance from the
      sidewalk and/or street. See Administrative Code § 27-292.5(b).

VIII. Defendants do not provide an accessible route from public transportation stops,
      accessible parking, public streets or sidewalks to the building entrance that
      coincides with the general circulation path used by patrons to the public
      accommodation thereby relegating plaintiff to a “second class citizen” entrance
      and exit. See 1991 Standards §§ 4.3.2(1), 4.1.2(1), 4.1.1(1) and 4.14.1; 2010
      Standards §§ 206.1, 206.2, 206.3, 206.2.4, 206.4; and BCCNY § 1104.5.

  IX. At the inaccessible public entrance, defendants do not provide and display the
      International Symbol of Accessibility with the required information indicating the
      location of a designated and nearest accessible entrance. See 1991 Standards §§
      4.1.6(l)(h), 4.1.3(8)(d), 4.30.1, 4.30.7, 4.30.3 and 4.30.6; 2010 Standards §§
      216.6, 703.7.2.1, 703.5; and Administrative Code § 27-292.18.

  X. Defendants have an inaccessible public entrance and fail to provide and display
     the International Symbol of Accessibility at a designated accessible entrance. See
     1991 Standards §§ 4.1.2(7)(c), 4.1.6(l)(h), 4.1.3(8)(d), 4.30.1, 4.30.7, 4.30.3 and
     4.30.6; 2010 Standards §§ 216.6, 703.7.2.1, 703.5; and Administrative Code § 27-
     292.18.

  XI. Defendants fail to provide accessible entrances in a number at least equivalent to
      the number of exits required by the New York Building and Fire Codes. See 1991
      Standards §§ 4.1.3(8)(a)(ii), 4.1.3(9), 4.3.10; 2010 Standards § 207.1; and
      Administrative Code §§ 27-354 and 27-365.

 XII. Defendants fail to provide that at least 50% and/or 60% of all its public entrances
      are accessible. See 1991 Standards § 4.1.3.8(a)(i); and 2010 Standards §§
      206.4.1, and 404.

XIII. The property owner defendant failed to provide an accessible entrance to the
      tenant defendant. See 1991 Standards § 4.1.3(a)(iii); 2010 Standards § 206.4.5,
      404; Administrative Code § 27-362; and BCCNY § 1105.1.6.




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 XIV. The interior space of defendants’ public accommodation is not accessible and
      usable to the disabled plaintiff. See Administrative Code §§ 27-292.10 and 27-
      292.5.

  XV. Defendants fail to provide that no protruding objects exist inside the minimum
      required clear floor space width of the interior’s accessible route. See 1991
      Standards §§ 4.2, 4.4.1, 4.3.3, 4.1.3; and 2010 Standards §§ 204, 307.1, 307.5,
      403.5.1.

 XVI. Defendants fail to provide an accessible interior route of 36 inches in width in all
      locations available to non-disabled customers. See 1991 Standards § 4.3.3; and
      2010 Standards § 403.5.1.

XVII. Defendants fail to provide the minimum required maneuvering clearance width at
      the end of every obstruction or aisle from which to make a turn around the
      obstruction or aisle. See 1991 Standards § 4.3.3; and 2010 Standards § 403.5.2.

XVIII. Defendants fail to provide that the sales and/or service counter is accessible. See
       1991 Standards § 7.2; 2010 Standards §§ 227.3, 227.1, 904.4; and BCCNY §§
       1109.12, 1109.12.3.

 XIX. Defendants fail to provide a portion of the sales and/or service counter that is no
      greater than 36 inches above the finish floor and no less than 36 inches in length
      thereby making it impossible or exceedingly difficult for the plaintiff to conduct a
      transaction in a manner similar to non-disabled customers. See 1991 Standards §
      7.2; 2010 Standards §§ 227.1, 227.3, 904.4; and BCCNY §§ 1109.12, 1109.12.3.

  XX. Defendants fail to provide the minimum required maneuvering clearances of level
      and clear space for an accessible path of travel to and from the sales and/or
      service counter. See 1991 Standards §§ 4.3, 4.2, 4.2.4, 4.32.2, 5.3; and 2010
      Standards §§ 305, 305.3, 305.5, 305.6, 802.1.2, 802.1.3, 902.2, 903.1, 903.2,
      902.4.1.

 XXI. Defendants fail to provide that at least one and not less than 5% of seating and
      standing spaces and/or dining surfaces are accessible and dispersed throughout the
      premises. See 1991 Standards §§ 4.1.3(18), 4.32, 5.1; 2010 Standards §§ 226,
      226.1, 226.2, 902.1; BCCNY §§ 1108.2.9.1, 1109.11; and Administrative Code §
      27-292.10(3).

XXII. Defendants fail to provide an accessible route of at least 36 inches of minimum
      width to all dining areas and seating. See 1991 Standards §§ 5.3, 4.32.2; 2010
      Standards §§ 403, 206.2.5, 902.2; and BCCNY § 1108.2.9.

XXIII. Defendants fail to provide the minimum required maneuvering clearances of level
       and clear space in front of the seating for dining. See 1991 Standards §§ 4.32.2,
       5.3; and 2010 Standards §§ 305.3, 802.1.2, 802.1.3, 902.2, 903.1, 903.2, 902.4.1.

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 XXIV. Defendants fail to provide an accessible public toilet room. See Standards §§
       4.23, 4.18, 4.19, 4.17, 4.24, 4.22, 4.1.6(e) and 4.1.3(11); 2010 Standards §§ 213.1,
       213.2, 603.1, 604, 605, 606; Administrative Code §§ 27-292(b), 27-292.12, RS-
       16, and P104.09(c); and BCCNY § 1109.2.

  XXV. At the inaccessible public toilet room, defendants do not provide and display the
       International Symbol of Accessibility with the required information indicating the
       location of a designated and nearest accessible public toilet room. See Standards
       §§ 4.1.6(3)(e)(iii), 4.1.3(16)(a), 4.1.2(7), 4.30, 4.30.6, 4.30.7; 2010 Standards §§
       216.3, 216.8, 703, 703.7.2.1; BCCNY § 1110.1.

 XXVI. Defendants do not provide and display the International Symbol of Accessibility
       alongside the toilet room door at the latch side between 48 and 60 inches above
       the finished floor. See Standards § 4.1.2(7)(d), 4.1.3(16)(a), 4.30, 4.30.6, 4.30.7;
       2010 Standards §§ 216.2, 216.3, 216.8, 703.7.2.1, 703.

XXVII. Defendants fail to provide that the minimum required floor space free of
       obstructions and/or fixtures exists inside the toilet room. See 1991 Standards §
       4.16.2, 4.23.3, 4.22.3; and 2010 Standards § 604.3.2.

XXVIII. Defendants fail to provide the minimum required turning diameter of 60 inches of
        level and clear space inside the toilet room. See 1991 Standards § 4.2.3; 4.23.3,
        4.22.3; and 2010 Standards §§ 603.2.3, 304.

 XXIX. Defendants fail to provide that the pipes under the lavatory are insulated,
       nonabrasive, or otherwise protected against contact thereby exposing plaintiff to
       severe personal injury. See 1991 Standards §§ 4.1.3(11), 4.19.4, 4.22.6, 4.24.6;
       and 2010 Standards §§ 213.3.4, 606.5.

  XXX. Defendants fail to provide that the bottom edge of the reflecting surface of the
       mirror above the lavatory is no greater than 40 inches above the finished floor.
       See 1991 Standards §§ 4.1.3(11), 4.19.6, 4.23.6, 4.22.6; and 2010 Standards §§
       213.3.4, 603.3, 213.3.5.

          23.    Upon information and belief, a full inspection of the Hungry Ghost

  premises will reveal the existence of other barriers to access.

          24.    As required by the ADA (remedial civil rights legislation) to properly

  remedy Defendants’ discriminatory violations and avoid piecemeal litigation, Plaintiff

  requires a full inspection of the Hungry Ghost premises in order to catalogue and cure all

  of the areas of non-compliance with the ADA. Notice is therefore given that Plaintiff

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intends to amend the Complaint to include any violations discovered during an inspection

that are not contained in this Complaint.

        25.     Defendants have denied Plaintiff the opportunity to participate in or

benefit from services or accommodations because of disability.

        26.     Defendants have not satisfied their statutory obligation to ensure that their

policies, practices, procedures for persons with disabilities are compliant with the laws.

Nor have Defendants made or provided accommodations or modifications for persons

with disabilities.

        27.     Plaintiff has a realistic, credible, and continuing threat of discrimination

from the Defendants’ non-compliance with the laws prohibiting disability discrimination.

The barriers to access within the Hungry Ghost premises continue to exist and deter

Plaintiff.

        28.     Plaintiff frequently travels to the area where the Hungry Ghost premises is

located.

        29.     Plaintiff intends to patronize the Hungry Ghost premises several times a

year after it becomes fully accessible and compliant with the 1991 Standards or the 2010

Standards, and the Administrative Code.

        30.     Plaintiff is also a “tester” for the purposes of asserting basic civil rights

and monitoring, ensuring, and determining whether the Hungry Ghost premises is fully

accessible and compliant with the 1991 Standards or the 2010 Standards, and the

Administrative Code.

        31.     Plaintiff intends to patronize the Hungry Ghost premises several times a

year as “tester” to monitor, ensure, and determine whether the Hungry Ghost premises is



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 fully accessible and compliant with the 1991 Standards or the 2010 Standards, and the

 Administrative Code.

                          FIRST CAUSE OF ACTION
         (VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT)

        32.     Plaintiff realleges and incorporates by reference all allegations set forth in

 this Complaint as if fully set forth herein.

        33.     Plaintiff is substantially limited in the life activity of both walking and

 body motion range and thus has a disability within the meaning of the ADA. As a direct

 and proximate result of Plaintiff’s disability, Plaintiff uses a wheelchair for mobility, and

 also has restricted use of arms and hands.

        34.     The ADA imposes joint and several liability on both the property owner

 and lessee of a public accommodation. 28 C.F.R. 36.201(b).

        35.     Under the ADA, both the property owner and lessee are liable to the

 Plaintiff, and neither can escape liability by transferring their obligations to the other by

 contract (i.e., lease agreement). 28 C.F.R. 36.201(b).

        36.     Defendants have and continue to subject Plaintiff to disparate treatment by

 denying Plaintiff full and equal opportunity to use their place of public accommodation

 all because Plaintiff is disabled. Defendants’ policies and practices have and continue to

 subject Plaintiff to disparate treatment and disparate impact.

        37.     By failing to comply with the law in effect for decades, Defendants have

 articulated to disabled persons such as the Plaintiff that they are not welcome,

 objectionable, and not desired as patrons of their public accommodation.

        38.     Defendants have discriminated against the Plaintiff by designing and/or

 constructing a building, facility and place of public accommodation that is not readily

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 accessible to and usable by the disabled Plaintiff and not fully compliant with the 1991

 Standards or the 2010 Standards. See 28 C.F.R. § 36.401(A)(1) and 42 U.S.C.

 §12183(a)(1).

        39.      The Hungry Ghost premises are not fully accessible and fail to provide an

 integrated and equal setting for people with disabilities, in violation of 42 U.S.C.

 §12182(b)(1)(A) and 28 C.F.R. § 36.203.

        40.      Defendants failed to make alterations accessible to the maximum extent

 feasible in violation of 28 C.F.R. §§ 36.402 and 36.406 and 42 U.S.C. §12183(a)(2).

        41.      The paths of travel to the altered primary function areas were not made

 accessible in violation of 28 C.F.R. § 36.403.

        42.      Defendants failed to make all readily achievable accommodations and

 modifications to remove barriers to access in violation of 28 C.F.R. § 36.304. It would

 be readily achievable to make Defendants’ place of public accommodation fully

 accessible.

        43.      By failing to remove the barriers to access where it is readily achievable to

 do so, Defendants have discriminated against Plaintiff on the basis of disability in

 violation of § 302(a) and 302(b)(2)(A)(iv) of the ADA, 42 U.S.C. § 12182(a),

 (b)(2)(A)(iv), and 28 C.F.R. § 36.304.

        44.      In the alternative, Defendants have violated the ADA by failing to provide

 Plaintiff with reasonable alternatives to barrier removal as required by 28 C.F.R. §

 36.305.




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        45.     Defendants’ failure to remove the barriers to access constitutes a pattern

 and practice of disability discrimination in violation of 42 U.S.C. § 12181 et. seq., and 28

 C.F.R § 36.101 et. seq.

        46.     Defendants have and continue to discriminate against Plaintiff in violation

 of the ADA by failing to maintain and/or create a wheelchair accessible public

 accommodation.

                      SECOND CAUSE OF ACTION
       (VIOLATIONS OF THE NEW YORK STATE HUMAN RIGHTS LAW)

        47.     Plaintiff realleges and incorporates by reference all allegations set forth in

 this Complaint as if fully set forth herein.

        48.     Plaintiff has various medical conditions that separately and together

 prevent the exercise of normal bodily functions in Plaintiff; in particular, the life

 activities of both walking and body motion range. Plaintiff therefore has from a

 disability within the meaning of the Executive Law § 296(21).

        49.     In 2019, the New York State legislature enacted legislation that provides

 effective immediately that the New York State Human Rights Law shall be “construed

 liberally for the accomplishment of the remedial purposes thereof, regardless of whether

 federal civil rights laws, including those laws with provisions worded comparably to the

 provisions of this article, have been so construed”. See Executive Law § 300 [effective

 date: August 12, 2019].

        50.     By amending the Executive Law § 300 to mirror the text of the New York

 City Local Civil Rights Restoration Act of 2005 (Local Law 85 of 2005), the New York

 State legislature confirmed the legislative intent to abolish parallel construction between

 the New York State Human Rights Law and related Federal anti-discrimination laws.

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         51.     Defendants have and continue to subject Plaintiff to disparate treatment by

 denying Plaintiff equal opportunity to use their place of public accommodation all

 because Plaintiff is disabled.

         52.     Defendants discriminated against Plaintiff in violation of NYSHRL

 (Executive Law § 296(2)), by maintaining and/or creating an inaccessible place of public

 accommodation. Each of the Defendants have aided and abetted others in committing

 disability discrimination.

         53.     Defendants have failed to make all readily achievable accommodations

 and modifications to remove barriers to access in violation of NYSHRL (Executive Law

 § 296(2)(c)(iii)).

         54.     In the alternative, Defendants have failed to provide Plaintiff with

 reasonable alternatives to barrier removal as required in violation of NYSHRL

 (Executive Law § 296(2)(c)(iv)).

         55.     It would be readily achievable to make Defendants’ place of public

 accommodation fully accessible.

         56.     It would not impose an undue hardship or undue burden on Defendants to

 make their place of public accommodation fully accessible.

         57.     As a direct and proximate result of Defendants' unlawful discrimination in

 violation of NYSHRL, Plaintiff has suffered, and continues to suffer emotional distress,

 including but not limited to humiliation, embarrassment, stress, and anxiety.

         58.     Plaintiff has suffered and will continue to suffer damages in an amount to

 be determined at trial.




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                       THIRD CAUSE OF ACTION
        (VIOLATIONS OF THE NEW YORK CITY HUMAN RIGHTS LAW)

        59.     Plaintiff realleges and incorporates by reference all allegations set forth in

 this Complaint as if fully set forth herein.

        60.     Plaintiff has various medical conditions that separately and together,

 impair Plaintiff’s bodily systems - in particular, the life activity of both walking and body

 motion range - and thus Plaintiff has a disability within the meaning of the NYCHRL

 (Administrative Code § 8-102(16)).

        61.     Defendants have and continue to subject Plaintiff to disparate treatment

 and disparate impact by directly and indirectly refusing, withholding, and denying the

 accommodations, advantages, facilities, and privileges of their place of public

 accommodation all because of disability in violation of the NYCHRL (Administrative

 Code § 8-107(4)). Each of the Defendants have aided and abetted others in committing

 disability discrimination.

        62.     Defendants have and continue to commit disability discrimination in

 violation of the Administrative Code (inclusive of § 8-107(4)) because of the violations

 of the ADA as alleged herein.

        63.     Defendants have discriminated, and continue to discriminate, against

 Plaintiff in violation of the NYCHRL (Administrative Code § 8-107(4)) by designing,

 creating and/or maintaining an inaccessible commercial facility/space.

        64.     Defendants have subjected, and continue to subject, Plaintiff to disparate

 treatment by directly and indirectly refusing, withholding, and denying the

 accommodations, advantages, facilities, and privileges of their commercial facility/space

 all because of disability in violation of the NYCHRL (Administrative Code § 8-107(4)).

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        65.      Defendants’ policies and procedures inclusive of the policies of refusing to

 expend funds to design, create and/or maintain an accessible commercial facility/space is

 a discriminatory practice in violation of NYCHRL (Administrative Code § 8-107(4)).

        66.      In violation of the NYCHRL (Administrative Code § 8-107(6)),

 Defendants have and continue to, aid and abet, incite, compel, or coerce each other in

 each of the other Defendants’ attempts to, and in their acts of directly and indirectly

 refusing, withholding, and denying the accommodations, advantages, facilities, and

 privileges of their commercial facility/space and the place of public accommodation

 therein, all because of disability, as well as other acts in violation of the NYCHRL.

        67.      Administrative Code §§ 19-152 and 7-210 impose a non-delegable duty on

 the property owner to repave, reconstruct, repair, and maintain its abutting public

 sidewalk. As a result, Greenpoint Goldman SM LLC and RXR 810 Fulton Owner LLC

 continuously controlled, managed, and operated the public sidewalk abutting 810 Fulton

 Street, which includes the portion of the sidewalk constituting the entrance to

 Defendants’ place of public accommodation.

        68.      Greenpoint Goldman SM LLC and RXR 810 Fulton Owner LLC’s failure

 to construct and maintain an accessible entrance from the public sidewalk to Defendants’

 place of public accommodation constitutes disability discrimination in a violation of the

 Administrative Code.

        69.      Defendants’ conduct also violates the NYCHRL, Administrative Code 8-

 107 (17), which states that “an unlawful discriminatory practice . . . is established . . .

 [when plaintiff] demonstrates that a policy or practice of a covered entity or a group of




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 policies or practices of a covered entity results in a disparate impact to the detriment of

 any group protected by the provisions of this chapter.”

        70.     Because Defendants’ public accommodation is not readily accessible and

 usable by people with disabilities, Defendants have demonstrated a policy or practice that

 has a disproportionately negative impact on people with disabilities (including Plaintiff).

        71.     Defendants’ conduct constitutes an ongoing and continuous violation of

 the NYCHRL. Unless Defendants are enjoined from further violations, Plaintiff will

 continue to suffer injuries for which there is no adequate remedy at law. In particular,

 Plaintiff will suffer irreparable harm by being denied the accommodations, advantages,

 facilities, or privileges of the Defendants’ public accommodation.

        72.     As a direct and proximate result of Defendants' unlawful discrimination in

 violation of the NYCHRL, Plaintiff has suffered, and continues to suffer emotional

 distress, including but not limited to humiliation, stress, and embarrassment.

        73.     Upon information and belief, Defendants’ long-standing refusal to make

 their place of public accommodation fully accessible was deliberate, calculated,

 egregious, and undertaken with reckless disregard to Plaintiff’s rights under the

 NYCHRL.

        74.     By failing to comply with the law in effect for decades, Defendants have

 articulated to disabled persons such as the Plaintiff that they are not welcome,

 objectionable, and not desired as patrons of their public accommodation.

        75.     Defendants engaged in discrimination with willful or wanton negligence,

 and/or recklessness, and/or a conscious disregard of the rights of others and/or conduct so




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 reckless as to amount to such disregard for which Plaintiff is entitled to an award of

 punitive damages pursuant to NYCHRL (Administrative Code § 8-502).

        76.     By refusing to make their place of public accommodation accessible,

 Defendants have unlawfully profited from their discriminatory conduct by collecting

 revenue from a non-compliant space and pocketing the money that they should have

 lawfully expended to pay for a fully compliant and accessible space. Defendants’

 unlawful profits plus interest must be disgorged.

        77.     Plaintiff has suffered and will continue to suffer damages in an amount to

 be determined at trial.

                      FOURTH CAUSE OF ACTION
        (VIOLATIONS OF THE NEW YORK STATE CIVIL RIGHTS LAW)

        78.     Plaintiff realleges and incorporates by reference all allegations set forth in

 this Complaint as if fully set forth herein.

        79.     Defendants discriminated against Plaintiff pursuant to New York State

 Executive Law.

        80.     Consequently, Plaintiff is entitled to recover the monetary penalty

 prescribed by Civil Rights Law §§ 40-c and 40-d for each and every violation.

        81.     Notice of this action has been served upon the Attorney General as

 required by Civil Rights Law § 40-d.

                                  FIFTH CAUSE OF ACTION
                                (COMMON LAW NEGLIGENCE)

        82.     Plaintiff realleges and incorporates by reference all allegations set forth in

 this Complaint as if fully set forth herein.




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        83.     Defendants negligently designed, constructed, operated, repaired, and

 maintained their place of public accommodation located at 810 Fulton Street in a manner

 that has rendered their place of public accommodation unsafe to the disabled Plaintiff.

        84.      At all relevant times, Defendants, who hold their property open to the

 public, have had a duty to patrons such as Plaintiff to design, construct, operate, repair,

 and maintain their place of public accommodation located at 810 Fulton Street in a

 reasonably safe condition.

        85.     Defendants breached their duty by negligently designing, constructing,

 operating, repairing, and maintaining their place of public accommodation located at 810

 Fulton Street in a manner that has unreasonably endangered the Plaintiff’s physical safety

 and caused bodily injury to Plaintiff.

        86.     Defendants’ failure to design, construct, operate, repair, and maintain their

 place of public accommodation located at 810 Fulton Street in a manner that is safe to the

 disabled Plaintiff has proximately caused Plaintiff to suffer bodily injury.

        87.     Defendants have had actual and constructive notice that their place of

 public accommodation located at 810 Fulton Street is not safe to people with disabilities.

        88.     As a direct result of Defendants’ negligence, Plaintiff has suffered and

 continues to suffer a bodily injury in an amount to be determined at trial.

                                      INJUNCTIVE RELIEF

        89.     Plaintiff will continue to experience unlawful discrimination because of

 Defendants' failure to comply with the above-mentioned laws. Therefore, injunctive

 relief is necessary to order Defendants to alter and modify their place of public

 accommodation and their operations, policies, practices, and procedures.



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        90.      Injunctive relief is also necessary to make Defendants' facilities readily

 accessible to and usable by Plaintiff in accordance with the above-mentioned laws.

        91.      Injunctive relief is further necessary to order Defendants to provide

 auxiliary aids or services, modification of their policies, and/or provision of alternative

 methods, in accordance with the ADA, NYSHRL, and the NYCHRL.

                                        JURY DEMAND

                     Plaintiff demands a trial by jury on all claims so triable.

                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests that the Court enter a judgment

 against the Defendants, jointly and severally, in favor of Plaintiff that contains the

 following relief:

              A. Enter declaratory judgment declaring that Defendants have violated the

 ADA and its implementing regulations, NYSHRL and NYCHRL and declaring the rights

 of Plaintiff as to Defendants' place of public accommodation, and Defendants’ policies,

 practices, and procedures;

              B. Issue a permanent injunction ordering Defendants to close and cease all

 business until Defendants remove all violations of the ADA, the 1991 Standards or the

 2010 Standards, NYSHRL and NYCHRL, including but not limited to the violations set

 forth above;

              C. Retain jurisdiction over the Defendants until the Court is satisfied that the

 Defendants' unlawful practices, acts and omissions no longer exist and will not reoccur;

              D. Award Plaintiff compensatory damages and nominal damages because of

 Defendants' violations of the NYSHRL and the NYCHRL;



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            E. Award Plaintiff punitive damages to punish and deter the Defendants for

 their violations of the NYCHRL;

            F. Award Plaintiff the monetary penalties for each violation of the law, per

 defendant, pursuant to New York State Civil Rights Law §§ 40-c and 40-d;

            G. Find that Plaintiff is a prevailing party and award reasonable attorney’s

 fees, costs, and expenses pursuant to the NYCHRL, and the ADA; and

            H. For such other and further relief, at law or in equity, to which Plaintiff

 may be justly entitled.

 Dated: November 21, 2023
        New York, New York
                                               Respectfully submitted,

                                               PARKER HANSKI LLC


                                               By:    /s
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